                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        CIVIL ACTION NO.: 2:20-CV-77-M


PALM AND PINE VENTURES, LLC AND
MDH GLOBAL, LLC,

                                            Plaintiff,

v.
                                                                       ORDER
CERTAIN UNDERWRITERS AT LLOYD’S
LONDON, UNDERWRITERS AT LLOYD’S
LONDON KNOWN AS SYNDICATE XLC 2003,
CNP 4444, NVA 2007, QBE 1886, ARG 2121,
AND ASC 1414, AND HDI GLOBAL
SPECIALTY SE,

                                         Defendants.



       THIS CAUSE, being before the undersigned upon the Defendants’ Motion to Stay

Discovery Pending Ruling on Motion to Dismiss; and

       IT APPEARS to the Court that good cause has been shown in support of Defendants’

Motion;

       IT IS, THEREFORE, ORDERED THAT the Defendants’ motion is GRANTED and

all discovery in this matter will be stayed pending the Court’s decision on Defendants’ Motion to

Dismiss pursuant to Rule 12 (b)(6) of the Federal Rules of Civil Procedure.


       This the _____ day of April, 2021.


                                                    ___________________________________
                                                    Honorable Judge Richard E. Myers, II
                                                    Eastern District of North Carolina




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